Case 3:11-cv-00066-JBT Document1 Filed 01/21/11 Page 1 of 17 PagelD 1

FILED
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CLERK, U.S. DISTRICT coURT
MIDDLE DISTRICT OF FLORIDA

IN THE UNITED STATES DISTRICT COURT JACKSONVILLE, FLORIDA
FOR THE MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
DAVID BENT,
Plaintiff, :
Civil Action No.: 3 -( ~C)-Ob-4 - QoTEw~
Vv.

SMITH, DEAN & ASSOCIATES, INC.,
and
GORDAN RAY SEVIGNY,

Defendants.
/

DEFENDANT’S NOTICE OF REMOVAL

Defendant, SMITH, DEAN & ASSOCIATES, by and through the undersigned counsel,
Daniel W. Anderson, Esq., Anderson | Pinkard, and pursuant to 28 U.S.C. §§ 1331, 1441, and
1446, hereby files this Defendant’s Notice of Removal, removing this action from the Circuit
Court of the Fourth Judicial Circuit in and for Duval County, Florida, to the United States Court
for the Middle District of Florida, Jacksonville Division. The removal of this action is based
upon the following:

1. This action was filed in the Circuit Court in the Fourth Judicial Circuit in and for
Duval County, Florida on or about November 2, 2010. True and correct copies of the Complaint,
and all other papers filed in this action are on attached CD disk, pursuant to 28 U.S.C. 1446 (a).

2. The United States District Court has original jurisdiction over this action based
upon complete diversity of citizenship. In this regard, 28 U.S.C. § 1331 states: “The district
courts shall have original jurisdiction of all civil actions arising under the Constitution, laws, or

treaties of the United States.”

 

 
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3. The Plaintiff's Complaint seeks damages based upon Violation of the Telephone
Consumer Protection Act (47 U.S.C. § 227), Violation of the Fair Debt Collection Practices Act
(15 U.S.C. § 1692), Invasion of Privacy By Intrusion on Seclusion (15 U.S.C. § 1692), and
Violation of the Florida Consumer Collection Practices Act (Fla. Stat. § 559.72).

4, Based on the allegations in the Complaint, the federal statutes under which
Plaintiff has sued Defendants gives rise to jurisdiction under 28 U.S.C. § 1331 and 28 U.S.C. §
144 1(b).

5. The Court has supplemental jurisdiction over the state law claims pursuant to 28
U.S.C. § 1441(c).

6. Venue is proper in the Middle District of Florida, Jacksonville Division, because
the Circuit Court action is pending within the jurisdictional confines of this District and Division.
See 28 U.S.C. § 1443; 28 U.S.C. § 1446 (a); Local Rule 4.02.

7. Pursuant to 28 U.S.C. § 1446(d), written notice of this Notice of Removal has
been given to all parties in this action, and a copy of this Notice will be filed with the Clerk of
the Circuit Court of the Fourth Judicial Circuit in and for Duval County, Florida, along with a

copy of the Order from Federal Court once it has been entered.

Qwef

Daniel W. And¢ss gfson, Esq.

Florida Bar No.: 490873

Tracy M. Henry, Esq.

Florida Bar No.: 073865

ANDERSON | PINKARD, P.A.

13577 Feather Sound Drive, Suite 670
Clearwater, FL 33762

Telephone: (727) 329-1999

Facsimile: (727) 329-1499

E-mail: danderson@floridalawpartners.com

Dated this 24" day of January 2011.
Case 3:11-cv-00066-JBT Document1 Filed 01/21/11 Page 3 of 17 PagelD 3

CERTIFICATE OF SERVICE

T HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by

regular U.S. Mail this 24"" day of January 2011 to:

Jeremy Kespoiil, Esq.

135 2°" Avenue North, #1
Jacksonville Beach, FL 32250
Jeremy@bromagenlaw.com
(904) 242-0830 (facsimile)
Attorney for Plaintiff

Michael Ross Cleaveland, Esq.

Anna S. Abbott, Esq.

1309-105 St. Johns Bluff Road North
Jacksonville, FL, 32225

Attorneys for Defendant Gordon Ray Sevigny

 

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Daniél W. Andérsdn, Esq.
Florida Bar No.: 490873

Tracy M. Henry, Esq.
Florida Bar No.: 073865
Case 3:11-cv-00066-JBT Document1 Filed 01/21/11 Page 4 of 17 PagelD 4

IN THE COUNTY COURT IN AND FOR

 

DUVAL COUNTY, FLORIDA
DAVID BENT CASENO: 16-20] 0-cp- _
DIVISION: CO -10588 ¥
Plaintiff,
v.
SMITH, DEAN & ASSOCIATES, INC.,
and
GORDAN RAY SEVIGNY,
Defendants.
/
CIVIL ACTION SUMMONS
THE STATE OF FLORIDA —
To Each Sheriff of Said State:

YOU ARE HEREBY COMMANDED to serve this summons and a copy of the complaint or petition in
this action on Defendant:

SMITH, DEAN & ASSOCIATES, INC.,
By Serving: Ronald Smith, Registered Agent

101 Centry 21 Drive 4107

Jacksonville, FL 32216

Each defendant is required to serve written defenses to the complaint or petition on Plaintiff's
attomey, to wit:

JEREMY KESPOHL, ESQURIE
whose address is: BROMAGEN & RATHET, P.A.
135 2™ Avenue North, Suite 1
Jacksonville Beach, FL 32250
Telephone (904) 242-0860
Facsimile (904) 242-0830

within 20 days after service of this summons on that defendant/respondent, exclusive of the day of
service, and to file the original of the defenses with the Clerk of this court either before service on
plaintiff's attorney or immediately thereafter. If a defendant fails to do so, a default will be entered
against that defendant for the relief demanded in the complaint or petition.

DATED ON November co , 2010.

MFULLER py 38
As Clerk of said Court." we

BY: Sina Bernardt we

As Deputy Clekk an fo,
(Court Seal) ~* . “oo

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ane.

 

 

 

 

 
Case 3:11-cv-00066-JBT Document1 Filed 01/21/11 Page 5 of 17 PagelID 5

In The County Court, Duval County, Florida
David Bent
Plaintiff{s), Case No.: 16-2010-CC-10588
VERIFIED RETURN OF SERVICE
JSO Control #:333186

| Eee
Pursuant to the request of Bromagen & Rathet, P.A., received this process on 11/03/2010 at 6:29 AM to
be served upon:

vs.
Smith, Dean & Associates, Inc
Defendant(s). .

 

cee ee oy Or 2B ¥

Smith, Dean & Associates, Inc mo 4 gf y
1? we 3

State of Florida

County of Duval ss.

1, Fred Bullard, depose and say that: I am authorized to serve this process in the circuit/county it was
served in.

On 11/04/2010 at 11:10 AM, I served the within Civil Action Sammons; Complaint, Jury Demand and

- Written Discovery Requests; Plaintiff's Requests for Admissions to Defendant Smitb, Dean &
Associates, Inc on Smith, Dean & Associates, Inc at C/O Ronald Smith at 101 Century 21 Drive
#107, Jacksonville, FL 32216 , , in the manner indicated below:

CORPORATE SERVICE: F.S. 48.081 (3)(a): By delivering a te copy of this process with the date
and hour endorsed thereon by me to Molly Derrow, Manager authorized to accept of the above named
corporation and informing him/her of the contents. Service was made in this fashion due to failure of the
Registered Agent to comply with FS 48.091.

Description of person process was left with:

Sex: Female — Skin: Caucastan — Hair: Brown — Age: 40" — Height: 5'8" — Weight: 140

I asked the person spoken to if the person served was in the active military service of any of the armed
forces of the United States of America or his/her state of residence and I received a negative reply.

Under penalty of perjury I declare that I have read the foregoing Verified Return Of Service and that the

facts stated in it are true.
got

 

 

Atty: Jeremy Kespohl, Esg Jacksonville, FL 32202

ClientRet#:
135 2nd Avenue, North # 1 904-358-2122

Jacksonville Beach Fl 32250 a; ml
ae
#243490

Cost Of Service: 40.00

 
Case 3:11-cv-00066-JBT Document1 Filed 01/21/11 Page 6 of 17 PagelD 6

DAVID BENT,
Plaintife,

v.
SMITH, DEAN & ASSOCIATES, INC.,

and
GORDON RAY SEVIGNY,
Defendants.

JN THE COUNTY COURT, IN AND FOR
DUVAL COUNTY, FLORIDA

CASE NO.: 16-2010-CC-10588
DIVISION: F

/

NOTICE OF APPEARANCE
YOU ARE HEREBY NOTIFIED that the undersigned attorney has been retained to represent

the Defendant, GORDON RAY SEVIGNY, in this matter, and that all orders, pleadings, motions or

other papers shall be served upon the undersigned.

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by

facsimile and/or U.S. Mail to: Jeremy Kespohl, Esquire, BROMAGEN & RATHET, P.A., Attomey

for Plaintiff, 135 2 Avenue North, Suite One, Jacksonville Beach, Florida 32250, and Lisa Smith,

Smith, Dean & Associates, 101 Century 21 Drive, #107, Jacksonville, Florida 32216, this 227" day

of December, 2010.

Cyn, Abe

Michael Ross Cleaveland, Esquire
Florida Bar Number 166448

Anna S. Abbott, Esquire

Florida Bar Number 55309

1309-105 St. Johns Bluff Road North
Jacksonville, Florida 32225

Telephone: (904) 642-2040

Facsimile: (904) 642-2041

Attomeys for Defendant Gordon Sevigny
Case 3:11-cv-00066-JBT Document1 Filed 01/21/11 Page 7 of 17 PagelD 7

IN THE COUNTY COURT IN OF THE FOURTH JUDICIAL CIRCUIT
IN AND FOR DUVAL COUNTY, FLORIDA
CIRCUIT CIVIL
DAVID BENT,
Plaintiff, CASE NO.: 16-2010-CC-010588-XXXX-MA
DIVISION: CC-F
v.
SMITH, DEAN & ASSOCIATES, INC.,
and

GORDAN RAY SEVIGNY,

Defendants.
/

NOTICE OF APPEARANCE
ANDERSON | PINKARD, P.A., and counsel, Daniel W. Anderson, Esquire, hereby give

notice of their appearance as counsel for and on behalf of Defendants, SMITH, DEAN &
ASSOCIATES, INC. The undersigned counsel requests that all pleadings, notices,
correspondence, and other papers in this matter be directed to the undersigned at the address
below.

Dated this 7" day of January 2011.

ANDERSON | PINKARD

‘ ?
\

 

Daniel W. Anderson, Esq.

Florida Bar No.: 490873

13577 Feather Sound Drive, Suite 670
Clearwater, FL, 33762

Telephone: (727) 392-1999

Facsimile: (727) 392-1499

E-mail: danderson@floridalawpartners.com
Case 3:11-cv-00066-JBT Document1 Filed 01/21/11 Page 8 of 17 PagelD 8

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by

email, facsimile, and regular U.S. Mail this 7" day of January 2011 to:

Jeremy Kespohl, Esq.

135 2 Avenue North, #1
Jacksonville Beach, FL 32250
Jeremy@bromagenlaw.com
(904) 242-0830 (facsimile)

?

 

Daniel W. Anderson, Esq.
Florida Bar No.: 490873
Case 3:11-cv-00066-JBT Document1 Filed 01/21/11 Page 9 of 17 PagelD 9

IN THE COUNTY COURT IN AND
DOVAL COUNTY, FLORIDA
paar ae
Plaintiff,
ve
SMITH, DEAN & ASSOCIATES, INC.,
end
GORDAN RAY SEVIGNY,
Defendants.

!

PLAINTIFF'S REQUESTS FOR ADMISSIONS TO
§ D & ASS IN

Plaintiff, DAVID BENT pursuant to Rule 1.370, Fila. R.Civ.P. hereby requests
Defendant SMITH, DEAN & ASSOCIATES, INC. (“Defendant”), to make the following
advaissions within 45 days of service of this request:

“EDCPA” means Fair Debt Collection Practices Act, 15 U.S.C. § 1692 ef seg.

“ECCPA” means Florida Consumer Collection Practices Act, Fla. Stat. § 559,55
at seg.

“TCPA” means Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.

“Plaintiff? means DAVID BENT

“Defendant” means SMITH, DEAN AND ASSOCIATES, INC.,

“Debt” means the debt that Defendant -was attempting to callect from the

Plaintiff .
“Original Creditor” means the creditor with whom Plaintiff allegedly incurred the
debt Defendant sought to collect from plaintiff. “Original Creditor” includes any client of
Case 3:11-cv-00066-JBT

Document 1 Filed 01/21/11 Page 10 of 17 PageID 10

 

Account History Report

FILE NUMBER: 000525655 STATUS: DNW
NAME : BENT, DAVID SEN: XXX-XX-XXXX
OTHER: ACCOUNT:
ADDRESS : 3527 UPHILL TERRACE

JACKSONVILLE, FL 32225
HOME PHONE: 904-662-7844
WORK PHONE: 804-317-3500
RECEIVED: 8/25/2010 CLOSED: 9/14/2010 RETURNED:
LAST PAID:
nia: Null Wa nia
Customer. 0001348-CORNWELL TOOLS - GORDON SEVIGN
ORIGINAL 930.63 PAID: .00 CURRENT: 930,63
NOTES
8/25/2010 10:36:13 AM 101 t++++ 9 +4444 = Latter 00100 Requested
8/25/2010 3:30:08 PM = &00 +4444 «ot+e++ Desk Changed From | 103 To 500
8/25/2010 3:30:12 PM = 600 ™ WN Bad Number was 904-236-7176 | 0 - Primary Oobter
8/25/2010 3:30:12 PM 600 +oee+ = +4404 = Status phenged from NEW | ACT
8/2$/2010 3:31:22 PM S00 co co CALLED ‘S$ POE AUCTION DIRECT...ON HOLD.. DTR OFF SICK TOD
8/25/2010 3:31:22 PM 00 _—> coon AY
8/25/2010 3:31:22 PM 600 ++o++ 4444+ © Status Changed From | NEW
8/25/2010 3:42:37 PM 103 SK SK SKIP TRACED FOUND JAMES BENT DTR'S FATHER 978-687-2136 LMCOM
8/25/2016 3:42:37 PM 103 ome? —> CALLED 978-667-3210 WRONG # CALLEO AUSTIN BENT 772-287-4843
8/28/2010 3:42:37 PM 103 t++++ 0 ¢+++++ «© Status Changad From | NEW
8/25/2010 4:10:20 PM 600 +++++ +4444 ~~ Home Phone (0) Changed From |
8/25/2010 4:10:44 PM 860 OT TT TT OTR OUNED FOR BIF..GAVE ALL M/G INFO
8/25/2010 4:34:40 PM 500 TE TT OTR'S BOSS IS CHRIS SYS GM IS BOB SHATHAR DTR WORKS 8-5..
8/30/2010 10:51:25 AM 101 co co REC CERTIFED LETTER CEASE COMMUNICATIONS
9/14/2010 12:80:30 PM 101 tte++ t++++ = Status Changed | ACT | DNW | Account Closed
9/1Gf2010 12:32:25 PM 101 co co SENT LETTER WITH COPIES OF ALL STATMENTS..

 

PAYMENTS
Case 3:11-cv-00066-JBT Document1 Filed 01/21/11 Page 11 of 17 PagelD 11
Case Details age | of 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DAVID BENT 16-2010-CC-010588-XXXX-MA
Division: CC-F
Clerk File Date: 11/02/2010
Fee's / Fines: $0.00
Party(s)
Full Name Party Type |Sex]|Race}DOB/| License # Address
BENT, DAVID PLAINTIFF XKXK-XXXK-XK-XXK-XK | OOOO
SMITH, DEAN AND ASSOCIATES, INC, | DEFENDANT XKXK-XXK-XK-XKK-X | OOOO
Sevigny, Gordan Ray -| DEFENDANT XXXK-XXK-KK-KXKeX | KOXOOKK
Case Fee(s)
Effective Date | Description Amount | Paid Balance | In Collections
11/02/2010 COICNTYCIV $320.00 | $320.00 $0.00
01/05/2011 CO/COUNTER/CROSS-CLAIM>2500| $295.00 | $295.00 $0.00
01/05/2011 SUMMONS($10/ea) $10.00] $10.00 $0.00
Court Event(s)
Date Type Location Cancelled
2/8/2011 | NOTICE OF HEARING | 301 CHAMBERS | NO
Docket(s)
image | Effective Date | Count] Description
11/2/2010 CIVIL COMPLAINT - NOT OTHERWISE CODED
11/2/2010 CASE FEES PAID: $320.00 ON RECEIPT NUMBER 1137879
11/2/2010 COMPLAINT, SUMMONS ISSUED (2)
11/2/2010 REQUEST FOR JURY TRIAL
11/2/2010 REQUEST FOR ADMISSIONS
11/2/2010 REQUEST TO PRODUCE
11/8/2010 SUMMONS RETURNED INDICATING SERVICE 110410 SMITH, DEAN
& ASSOC. INC.
11/10/2010 MOTION FOR APPOINTMENT FOR SPECIAL PROCESS SERVER
11/22/2010 ANSWER
11/30/2010 MOTION FOR DEFAULT
12/2/2010 MOTION TO STRIKE /FOR DEFAULT
12/3/2010 CRO ER GRANTING MOTION APPOINTING SPECIAL PROCESS
12/9/2010 SUMMONS RETURNED INDICATING SERVICE 12062010
12/13/2010 NOTICE OF HEARING 02/08/2011 11:00 AM - 301 CHAMBERS
12/23/2010 NOTICE OF APPEARANCE OF COUNSEL
12/23/2010 MOTION TO DISMISS

 

 

 

 

 

 

https://showcase.duvalclerk.com/V iewCaseDetails.aspx?id=10275206&court=0 1/14/2011
; Case 3:11-cv-00066-JBT Document1 Filed 01/21/11 Page 12 of 17 PagelD 12
Case Details Page 2 of 2

 

 

 

12/30/2010 RESPONSE TO DEFT'S GORDAN RAY SEVIGNY'S MOTION TO
DISMISS PLTF COMPLAINT
1/5/2011 CASE FEES PAID: $305.00 ON RECEIPT NUMBER 1181175
1/5/2011 CROSSCLAIM AGAINST DFT SMITH, DEAN & ASSOCIATES INC AND
DEMAND FOR JURY TRIAL
1/5/2011 Crossclaim Issued To Smith, Dean, Assoc.

 

 

 

 

 

 

https://showcase.duvalclerk.com/ViewCaseDetails.aspx?id=10275206&court=0 1/14/2011
Case 3:11-cv-00066-JBT Document1 Filed 01/21/11 Page 13 of 17 PagelD 13

IN THE COUNTY COURT IN OF THE FOURTH JUDICIAL CIRCUIT
IN AND FOR DUVAL COUNTY, FLORIDA
CIRCUIT CIVIL

DAVID BENT,

Plaintiff, . CASE NO.: 16-2010-CC-010588-XXXX-MA
DIVISION: CC-F

Vv.

SMITH, DEAN & ASSOCIATES, INC.,
and

GORDAN RAY SEVIGNY,

Defendants.
/

NOTICE OF FILING
COMES NOW Defendant, SMITH, DEAN & ASSOCIATES, INC., by and

through its undersigned counsel, and hereby give notice to this Court of the filing of

Defendant’s Notice of Removal Exhibit “A.”

Dated this 26" day of January 2011.

ANDERSON | PINKARD

i ‘.
i

Darfiel Wz Andé¢sbn, Esq.

Florida Bar No.: 490873

13577 Feather Sound Drive, Suite 670
Clearwater, FL 33762

Telephone: (727) 392-1999

Facsimile: (727) 392-1499

E-mail: danderson@floridalawpartners.com
Case 3:11-cv-00066-JBT Document1 Filed 01/21/11 Page 14 of 17 PagelD 14

CERTIFICATE OF SERVICE -

I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by

email, facsimile, and regular U.S. Mail this 26" day of January 2011 to:

Jeremy Kespohl, Esq.

135 2" Avenue North, #1
Jacksonville Beach, FL 32250
Jeremy@bromagenlaw.com
(904) 242-0830 (facsimile)
Attorney for Plaintiff

Michael Ross Cleaveland, Esq.

Anna 8S. Abbott, Esq.

1309-105 St. Johns Bluff Road North
Jacksonville, FL 32225

Attorneys for Defendant Gordon Ray Sevigny

”

“Danicl W. Andergon, Esq.
Florida Bar No.: 490873
Case 3:11-cv-00066-JBT Document1 Filed 01/21/11 Page 15 of 17 PagelD 15

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
DAVID BENT,
Plaintiff,

Civil Action No.: _——_——
Vv.

SMITH, DEAN & ASSOCIATES, INC.,
and
GORDAN RAY SEVIGNY,

Defendants.

f
/

DEFENDANT’S NOTICE OF REMOVAL

Defendant, SMITH, DEAN & ASSOCIATES, by and through the undersigned counsel,
Daniel W. Anderson, Esq., Anderson | Pinkard, and pursuant to 28 U.S.C. §§ 1331, 1441, and
1446, hereby files this Defendant’s Notice of Removal, removing this action from the Circuit
Court of the Fourth Judicial Circuit in and for Duval County, Florida, to the United States Court
for the Middle District of Florida, Jacksonville Division. The removal of this action is based
upon the following:

I. This action was filed in the Circuit Court in the Fourth Judicial Circuit in and for
Duval County, Florida on or about November 2, 2010. True and correct copies of the Complaint,
and all other papers filed in this action are on attached CD disk, pursuant to 28 U.S.C. 1446 (a).

2. The United States District Court has original jurisdiction over this action based
upon complete diversity of citizenship. In this regard, 28 U.S.C. § 1331 states: “The district
courts shall have original jurisdiction of all civil actions arising under the Constitution, laws, or

treaties of the United States.”

ade

    
 
Case 3:11-cv-00066-JBT Document1 Filed 01/21/11 Page 16 of 17 PagelD 16

*”

3. The Plaintiff's Complaint seeks damages based upon Violation of the Telephone
Consumer Protection Act (47 U.S.C. § 227), Violation of the Fair Debt Collection Practices Act
(15 U.S.C. § 1692), Invasion of Privacy By Intrusion on Seclusion (15 U.S.C. § 1692), and
Violation of the Florida Consumer Collection Practices Act (Fla. Stat. § 559.72).

4. Based on the allegations in the Complaint, the federal statutes under which
Plaintiff has sued Defendants gives rise to jurisdiction under 28 U.S.C. § 1331 and 28 U.S.C. §
144 1(b).

5. The Court has supplemental jurisdiction over the state law claims pursuant to 28
U.S.C. § 1441 (c).

6. Venue is proper in the Middle District of Florida, Jacksonville Division, because
the Circuit Court action is pending within the jurisdictional confines of this District and Division.
See 28 U.S.C. § 1443; 28 U.S.C. § 1446 (a); Local Rule 4.02.

?. Pursuant to 28 U.S.C. § 1446(d), written notice of this Notice of Removal has
been given to all parties in this action, and a copy of this Notice will be filed with the Clerk of
the Circuit Court of the Fourth Judicial Circuit in and for Duval County, Florida, along with a

copy of the Order from Federal Court once it has been entered.

/
Dated this 24" day of January 2011. rat i {
Tyr
‘HN

Daniel W. And¢#son, Esq.

Florida Bar No.: 490873

Tracy M. Henry, Esq.

Florida Bar No.: 073865

ANDERSON | PINKARD, P.A.

13577 Feather Sound Drive, Suite 670
Clearwater, FL 33762

Telephone: (727) 329-1999

Facsimile: (727) 329-1499

E-mail: danderson@floridalawpartners.com
Case 3:11-cv-00066-JBT Document1 Filed 01/21/11 Page 17 of 17 PagelD 17

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by
regular U.S. Mail this 24" day of January 2011 to:

Jeremy Kespohi, Esq.

135 2™° Avenue North, #1
Jacksonville Beach, FL 32250
Jeremy@bromagenlaw.com
(904) 242-0830 (facsimile)
Attomey for Plaintiff

Michael Ross Cleaveland, Esq.

Anna S. Abbott, Esq.

1309-105 St. Johns Bluff Road North
Jacksonville, FL. 32225

Attorneys for Defendant Gordon Ray Sevigny

 

 

Daniel W. Andérsdn, Esq.
Florida Bar No.: 490873
Tracy M. Henry, Esq.
Florida Bar No.: 073865
